  Case 5:22-cv-05027-RAL Document 1 Filed 03/23/22 Page 1 of 19 PageID #: 28




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH DAKOTA
                              WESTERN DIVISION


 NDN COLLECTIVE, individually and on
 behalf of all others similarly situated, and                  5:22-cv-5027
                                                     Case No.:_______________________
 SUNNY RED BEAR, individually and on
 behalf of all others similarly situated,
                                                              COMPLAINT
                      Plaintiffs,

       v.

 RETSEL CORPORATION, d/b/a
 GRAND GATEWAY HOTEL and d/b/a
 CHEERS SPORTS LOUNGE AND
 CASINO, CONNIE UHRE, and
 NICHOLAS UHRE,

                      Defendants.




       Plaintiffs NDN Collective and Sunny Red Bear, individually and on behalf of all

others similarly situated, alleges as follows:

                                    INTRODUCTION

       1.     This lawsuit arises out of the explicit racial discrimination by Defendants

Retsel Corporation d/b/a Grand Gateway Hotel (“Grand Gateway Hotel”) and d/b/a

Cheers Sports Lounge and Casino (“Cheers Bar”), Connie Uhre, and Nicholas Uhre

(collectively, the “Uhres”).

       2.     Connie Uhre owns and operates the Grand Gateway Hotel in Rapid City,

South Dakota. She also owns and operates Cheers Bar, which is located on the same




                                                 1
  Case 5:22-cv-05027-RAL Document 1 Filed 03/23/22 Page 2 of 19 PageID #: 29




premises as, and connected to, the Grand Gateway Hotel. The Grand Gateway Hotel

and Cheers Bar are managed by Nicholas Uhre, Connie’s son.

       3.     On March 21 and 22, 2022, the Defendants discriminated against NDN

Collective and Sunny Red Bear on the basis of their race, in violation of 42 U.S.C. § 1981.

       4.     The Defendants’ intentional racial discrimination against the Plaintiffs is

part of a policy, pattern, or practice of intentional racial discrimination against Native

Americans.

                             JURISDICTION AND VENUE

       5.     This Court has subject matter jurisdiction over this action under 28 U.S.C.

§§ 1331 and 1343 because this complaint involves a claim to recover damages for the

protection of civil rights under 42 U.S.C. § 1981, which provides for redress when the

right to make or enforce a contract is interfered with on the basis of racial

discrimination or animus, and 42 U.S.C. § 1988, which authorizes the recovery of

attorneys’ fees.

       6.     Plaintiffs’ claims for declaratory and injunctive relief are authorized by 28

U.S.C. §§ 2201 et seq., Rules 57 and 65 of the Federal Rules of Civil Procedure, and the

general legal and equitable powers of this Court.

       7.     Venue is appropriate under 28 U.S.C § 1391(b) because a substantial part

of the events or omissions giving rise to Plaintiffs’ claims occurred in the District of

South Dakota and Defendants reside or are located in this judicial district.




                                              2
    Case 5:22-cv-05027-RAL Document 1 Filed 03/23/22 Page 3 of 19 PageID #: 30




                                        PARTIES

        8.    Plaintiff NDN Collective is a 501(c)(3) non-profit organization registered

in Rapid City, South Dakota. NDN Collective’s mission includes educating, funding,

and organizing those engaged in Native American issues. NDN Collective seeks to

increase philanthropic and capital investment in Native communities; to use trainings,

leadership development, and education to prepare Indigenous communities to create

sustainable outcomes for their people and planet; and to develop a political agenda for

activism related to the Indigenous community goals of, among other things, protecting

and defending their land, air, water and the planet. NDN Collective makes regular use

of public accommodations in Rapid City, including hotels.

        9.    Plaintiff Sunny Red Bear is an individual residing in Rapid City, South

Dakota. Ms. Red Bear is Native American and a member of a protected class.

        10.   Defendant Retsel Corporation is a South Dakota corporation. On

information and belief, Retsel Corp. does business as the Grand Gateway Hotel. The

2021 Annual Report filed with the South Dakota Secretary of State for Retsel Corp. lists

its actual address in this state as 1721 N Lacrosse Street, Rapid City, South Dakota. That

address is the same as the address listed online for the Grand Gateway Hotel.1

        11.   On information and belief, Retsel Corp. also operates the Cheers Bar,

which is located within the Grand Gateway Hotel. The website for the Grand Gateway




1See Grand Gateway Hotel, available at https://www.grandgatewayhotel.com/ (last
accessed March 22, 2022).


                                            3
    Case 5:22-cv-05027-RAL Document 1 Filed 03/23/22 Page 4 of 19 PageID #: 31




Hotel contains a section for the Cheers Sports Lounge and Casino, which states, among

other things “The Grand Gateway Hotel – a hotel, a restaurant, and a sports bar – all on

the same property.”2

        12.   On information and belief, Defendant Connie Uhre is an individual and a

South Dakota resident residing in Rapid City, South Dakota. Connie Uhre owns and

operates Retsel Corp. d/b/a Grand Gateway Hotel, and d/b/a Cheers Sports Bar and

Lounge. The 2021 Annual Report for Retsel Corp. lists Connie Uhre as President and a

director of that entity.

        13.   On information and belief, Defendant Nicholas Uhre is an individual and

South Dakota resident residing in Rapid City, South Dakota. On information and belief,

Nicholas Uhre is the manager of the Grand Gateway Hotel and Cheers Bar. The 2021

Annual Report for Retsel Corp. lists Nicholas Uhre as a director of that entity.

        14.   Retsel Corp., and its businesses, Grand Gateway Hotel and Cheers Bar,

are vicariously liable for the actions of the employees, owners, managers, and directors

of the corporation. The Uhres are also individually liable for their actions.

                       ADDITIONAL FACUTAL ALLEGATIONS

        15.   The Grand Gateway Hotel and Cheers Bar are open to the public and offer

services as public accommodations.




2See Grand Gateway Hotel, available at https://www.grandgatewayhotel.com/rapid-
city-hotel-dining/cheers-sports-lounge-casino (last accessed March 22, 2022).
                                             4
    Case 5:22-cv-05027-RAL Document 1 Filed 03/23/22 Page 5 of 19 PageID #: 32




         16.     On or around March 20, 2022, Connie Uhre posted on social media that

she will “not allow a Native American to enter our business including Cheers” because

she is unable to tell “who is a bad Native or a good Native.”3

         17.     In another since-deleted social media post,4 Connie Uhre not only stated

that she was banning Native Americans from the Grand Gateway Hotel and from

Cheers Bar, but she also offered a “very special rate” to ranchers and travelers—

presumably, only non-Native ranchers and travelers:




3Siandhara Bonnet, Hotel threatens to ban Native Americans following shooting, Rapid City
Journal, March 21, 2022, available at https://rapidcityjournal.com/news/local/hotel-
threatens-to-ban-native-americans-following-shooting/article_d3282ee4-95fb-5873-
a02a-2d0aff9c0975.html (last accessed March 22, 2022); KOTA Staff, Rapid City hotel
purportedly bans Native Americans from its property, KOTA, March 21, 2022, available at
https://www.kotatv.com/2022/03/22/rapid-city-hotel-purportedly-bans-native-
americans-its-property/ (last accessed March 22, 2022).

4   It is unclear if this is the same social media post quoted in the articles cited in note 3.
                                                 5
     Case 5:22-cv-05027-RAL Document 1 Filed 03/23/22 Page 6 of 19 PageID #: 33




         18.   Nicholas Uhre also sent an email on or around March 20, 2022, in which

he stated, “I really do not want to allow Natives on property. Every time we have

problems I call the police with it, the first thing they ask is what nationality is he or she

and 98% of the time I have to say native [sic], and we call at least once a week. they [sic]

kill each other walk around with guns . . . The problem is we do not know the nice ones

from the bad natives…so we just have to say no to them!!”5

         19.   Despite these overtly racial comments, the Uhres claim the Grand

Gateway Hotel and Cheers Bar do not have a policy discriminating against Native

Americans. This claim is pretext for intentional racial discrimination against the

Plaintiffs and the members of the class.

I.       Intentional Racial Discrimination Against Sunny Red Bear

         20.   On March 21, 2022, Plaintiff Sunny Red Bear entered the Grand Gateway

Hotel with another Native American woman. The two women tried to rent a room at

the hotel.

         21.   After initially beginning to process the rental and providing a price quote,

a hotel employee refused to rent a room to them, claiming that the hotel had a policy

that it did not rent rooms to people with “local” identification. This was mere pretext to

discriminate against Ms. Red Bear based on her race.




5Arielle Zionts, Workers quit, lawsuit pending after hotel owner calls for ban on Native
Americans, SDPB, March 22, 2022, available at https://listen.sdpb.org/business-
economics/2022-03-22/workers-quit-lawsuit-pending-after-hotel-owner-calls-for-ban-
on-native-americans (last accessed March 23, 2022).
                                              6
  Case 5:22-cv-05027-RAL Document 1 Filed 03/23/22 Page 7 of 19 PageID #: 34




       22.    The hotel employee first claimed that this local identification policy was

an actual policy. Then she reversed herself, claiming there was not a formal policy but

that this was an effort to implement and/or deal with the fallout from Connie Uhre’s

social media posts. On information and belief, no written policy existed, and no such

policy was provided to Ms. Red Bear.

       23.    The hotel employee also did not allow the other woman to rent the room

under her name using her identification.

       24.    As a direct result of Connie Uhre’s decision, announced on social media,

to exclude Native Americans from her businesses, Ms. Red Bear was discriminated

against in violation of federal law. On information and belief, Nicholas Uhre has also

endorsed and enforced this policy.

       25.    As a result of the Defendants’ public statements endorsing racial

discrimination at their businesses, and as a result of the March 21, 2022, incident, Ms.

Red Bear felt and feels threatened, embarrassed, humiliated, disturbed, and shocked.

She feels unwelcome to return.

       26.    Ms. Red Bear had not done anything to warrant exclusion from the Grand

Gateway Hotel. Instead, Ms. Red Bear and her companion were excluded on the basis of

their race and protected status as Native Americans.

       27.    As a result of the Defendants’ intentional policy of racial discrimination,

Ms. Red Bear was prevented from completing any transactions at the Grand Gateway

Hotel and at Cheers Bar.



                                             7
  Case 5:22-cv-05027-RAL Document 1 Filed 03/23/22 Page 8 of 19 PageID #: 35




II.    Intentional Racial Discrimination Against NDN Collective.

       28.    On March 22, 2022, representatives of NDN Collective entered the Grand

Gateway Hotel to reserve five rooms on behalf of the organization.

       29.    NDN Collective was told that they could not rent rooms due to some

“issues” that the hotel had.

       30.    When NDN Collective stated that Expedia showed rooms available, the

front desk employee confirmed that rooms were, in fact, available but the hotel would

not rent those available rooms to NDN Collective.

       31.    At no point did the NDN Collective representative present a form of

identification, local or otherwise.

       32.    The NDN Collective representative asked to speak to a manager. At all

times, the interaction with the front desk employee was respectful and polite.

       33.    Immediately thereafter, an individual believed to be Nicholas Uhre

approached the NDN Collective representatives and forcefully demanded that they

leave the hotel. He then followed them out of the hotel. The representatives of NDN

Collective were intimidated by Nicholas Uhre’s threatening demeanor.

       34.    As a direct result of Connie Uhre’s decision, announced on social media,

to exclude Native Americans from her businesses, NDN Collective was discriminated

against in violation of federal law. Nicholas Uhre also endorsed and enforced this

policy, including by intimidating the NDN Collective representatives and excluding

them from the hotel.




                                           8
  Case 5:22-cv-05027-RAL Document 1 Filed 03/23/22 Page 9 of 19 PageID #: 36




       35.     As a result of the Defendants’ public statements endorsing racial

discrimination at their businesses, NDN Collective and its members felt and feel

threatened, embarrassed, humiliated, disturbed, and shocked.

       36.     Further, as a result of the March 22, 2022, incident at the Grand Gateway

Hotel, NDN Collective and its members felt and feel threatened, embarrassed,

humiliated, disturbed, and shocked. They feel unwelcome to return.

       37.     The individuals present at the Grand Gateway Hotel on behalf of NDN

Collective had not done anything to warrant exclusion from the Grand Gateway Hotel.

Instead, they were excluded on the basis of their race and protected status as Native

Americans, the racial identity of their organization, and NDN Collective’s advocacy for

Native Americans.

       38.     As a result of the Defendants’ intentional policy of racial discrimination,

NDN Collective was prevented from completing any transactions at the Grand

Gateway Hotel and at Cheers Bar.

                                CLASS ACTION ALLEGATIONS

       39.     The Plaintiff brings this claim on behalf of a class, pursuant to Fed. R. Civ.

P. 23(a), (b)(2), and (b)(3).

       40.     Pursuant to a pattern or practice of intentional and willful racial

discrimination, Plaintiffs and other Native American patrons have been, are being, and

will be denied equal services at the Defendants’ businesses, which are public

accommodations.




                                              9
 Case 5:22-cv-05027-RAL Document 1 Filed 03/23/22 Page 10 of 19 PageID #: 37




       41.    The alleged class consists of:

       All Native Americans who have or will visit the Grand Gateway Hotel and/or
       Cheers Bar. Excluded from the Class are Defendants and their officers, directors,
       management, employees, subsidiaries, and affiliates. Also excluded is courthouse
       personnel and their spouses and immediate family.

Alternatively, the Plaintiffs will seek to certify a subclass consisting of

       All Native Americans with a Rapid City address who have or will visit the
       Grand Gateway Hotel and/or Cheers Bar. Excluded from the Class are
       Defendants and their officers, directors, management, employees, subsidiaries,
       and affiliates. Also excluded is courthouse personnel and their spouses and
       immediate family.

       42.    The Plaintiffs may alter the class definition(s) to conform with

developments in the case and discovery.

       43.    Numerosity under Federal Rule of Civil Procedure 23(a)(1): The class is

so numerous that joinder of all members is not practicable. Approximately 10,000

Native Americans live in Pennington County alone.

       44.    Commonality and Predominance under Federal Rule of Civil Procedure

23(a)(2) and 23(b)(3): There are questions of law and fact common to the class members.

These common questions predominate over any questions relating to individual class

members. Specifically, common questions include, but are not limited to, whether the

Defendants have discriminated and will discriminate against class members, whether

the Defendants have a policy of discrimination against class members, and whether

such discrimination violates federal law.




                                               10
 Case 5:22-cv-05027-RAL Document 1 Filed 03/23/22 Page 11 of 19 PageID #: 38




       45.    Typicality under Federal Rule of Civil Procedure 23(a)(3): The Plaintiffs’

claims are typical of the claims of class members. All are based on the same or similar

facts and the same legal theories.

       46.    Adequacy of Representation under Federal Rule of Civil Procedure

23(a)(4): Plaintiffs are adequate Class Representatives because their interests do not

conflict with the interests of Class Members they seek to represent. Additionally,

Plaintiffs have retained counsel experienced in civil rights litigation and class action

litigation.

       47.    Declaratory and Injunctive Relief under Federal Rule of Civil Procedure

23(b)(2): Defendants have acted or refused to act on grounds generally applicable to

Plaintiffs and the other members of the Class, thereby making appropriate final

injunctive relief and declaratory relief with respect to the Class as a whole.

       48.    Superiority of Class Action under Federal Rule of Civil Procedure

23(b)(3): A class action is the superior method for the fair and efficient adjudication of

this matter, in that individual actions are not economically or practically feasible, and

members of the class are unlikely to be aware of their rights or pursue litigation.

       49.    On behalf of the class, the Plaintiffs may seek the following relief:

certification of a class or classes as appropriate, compensatory and punitive damages as

determined by a jury, injunctive and declaratory relief, and attorneys’ fees and costs.




                                             11
    Case 5:22-cv-05027-RAL Document 1 Filed 03/23/22 Page 12 of 19 PageID #: 39




                                  CLAIMS FOR RELIEF6

                          Count I: Violation of 42 U.S.C. § 1981.
                                 Against all Defendants

        50.   The Plaintiffs incorporate all previous paragraphs of this Complaint as if

fully set forth herein.

        51.   Section 1981 provides that all persons within the jurisdiction of the United

States shall have “the same right . . . to make and enforce contracts . . . as is enjoyed by

white citizens.” 42 U.S.C. § 1981. This includes “the making performance, modification,

and termination of contracts, and the enjoyment of all benefits, privileges, terms, and

conditions of the contractual relationship.” Id. § 1981(b).

        52.   Section 1981 is not limited to existing contractual relationships.

        53.   Sunny Red Bear is a member of a protected class.

        54.   Sunny Red Bear was engaged in an activity protected by 42 U.S.C. § 1981

when she attempted to make a contract for the purchase of hotel rooms at the Grand

Gateway Hotel.

        55.   The Grand Gateway Hotel, at the instruction of Connie and/or Nicholas

Uhre, intentionally interfered with the formation of that contract based solely on Ms.

Red Bear’s membership in a protected class.



6 The Defendants also violated 42 U.S.C. § 2000a et seq. and the South Dakota Human
Relations Act, SDCL ch. 20-13, by engaging in racial discrimination in public
accommodations. The Plaintiffs are in the process of filing a complaint with the South
Dakota Human Rights Commission, and may amend this complaint 30 days after that
administrative complaint is submitted to comply with the jurisdictional prerequisite as
interpreted in Bilello v. Kum & Go, LLC, 374 F.3d 656 (8th Cir. 2004). This jurisdictional
prerequisite does not exist with respect to claims under 42 U.S.C. § 1981.
                                             12
 Case 5:22-cv-05027-RAL Document 1 Filed 03/23/22 Page 13 of 19 PageID #: 40




       56.    The Defendants acted with discriminatory intent. Connie and Nicholas

Uhre’s racist comments, and the discriminatory policy in place at the Grand Gateway

Hotel, successfully interfered with and prevented Ms. Red Bear from enjoying her right

to enter into a contract with the Grand Gateway Hotel. As a result, Ms. Red Bear was

denied access to the Grand Gateway Hotel and the Cheers Bar, located on and within

the same property.

       57.    The Defendants’ actions proximately and directly caused injury and harm

to Ms. Red Bear, including the denial of federally and constitutionally protected rights,

public embarrassment, severe emotional distress, mental pain and suffering, injury to

dignity, anguish, and personal degradation on the basis of race.

       58.    NDN Collective represents members of a protected class and it shares the

racial identity of its members.

       59.    NDN Collective was engaged in an activity protected by 42 U.S.C. § 1981

when it attempted to make a contract for the purchase of hotel rooms at the Grand

Gateway Hotel.

       60.    The Grand Gateway Hotel, at the instruction of Connie and/or Nicholas

Uhre, intentionally interfered with the formation of that contract based solely on NDN

Collective’s identity and association with members of a protected class.

       61.    The Defendants acted with discriminatory intent. Connie and Nicholas

Uhre’s racist comments, and the discriminatory policy in place at the Grand Gateway

Hotel, successfully interfered with and prevented NDN Collective from enjoying its

right to enter into a contract with the Grand Gateway Hotel. As a result, NDN

                                            13
 Case 5:22-cv-05027-RAL Document 1 Filed 03/23/22 Page 14 of 19 PageID #: 41




Collective and its members were denied access to the Grand Gateway Hotel and the

Cheers Bar, located on and within the same property.

       62.    The Defendants’ actions proximately and directly caused injury and harm

to NDN Collective, including the denial of federally and constitutionally protected

rights, public embarrassment, severe emotional distress, mental pain and suffering,

injury to dignity, anguish, and personal degradation on the basis of race.

       63.    As a result of an unlawful policy or practice, the Defendants denied Ms.

Red Bear and NDN Collective the use and enjoyment of the benefits, privileges, terms

and conditions that it extends to all other guests and invitees.

       64.    While both Ms. Red Bear and NDN Collective were denied the ability to

contract for hotel rooms, the Defendants offered a reduced rate to non-Native persons.

That rate was not available to the Plaintiffs on the same terms as it was available to

others.

       65.    By discriminating against the Plaintiffs on the basis of race, the

Defendants denied the Plaintiffs the same right to enjoy the benefits, privileges, terms,

and conditions of contract that are enjoyed by white citizens, in violation of the

Plaintiffs’ rights under the Civil Rights Act of 1866, 42 U.S.C. § 1981.

       66.    As a result of the Defendants’ unlawful conduct, the Plaintiffs have

suffered and will continue to suffer economic loss, humiliation, embarrassment,

emotional distress, and unlawful deprivation of their federally protected rights to enjoy

equal treatment in the making and enforcing of contracts in places of public



                                             14
 Case 5:22-cv-05027-RAL Document 1 Filed 03/23/22 Page 15 of 19 PageID #: 42




accommodation without regard for their race. Plaintiffs are entitled to compensatory

damages in an amount to be determined at trial.

        67.   The Defendants’ conduct was intentional, deliberate, reckless, hurtful,

wanton, discriminatory, done with malice and in reckless disregard of the rights of Ms.

Red Bear, providing a justification and need for punitive damages in this case.

        68.   The Plaintiffs are entitled to an injunction prohibiting the Defendants from

future violations of federal law.

        69.   The Plaintiffs are entitled to recover attorneys’ fees and expert fees under

42 U.S.C. §§ 1981 and 1988 (b) and (c).

                Count II: Declaratory Relief, 28 U.S.C. §§ 2201 and 2202.
                                Against All Defendants

        70.   The Plaintiffs incorporate all previous paragraphs of this Complaint as if

fully set forth herein.

        71.   A dispute currently exists with respect to the rights and obligations of the

Plaintiffs, on one hand, and the Defendants, on the other.

        72.   The Plaintiffs are entitled to a declaratory judgment finding that the

foregoing actions of the Defendants violate the Civil Rights Act of 1866, 42 U.S.C. §

1981.




                                            15
Case 5:22-cv-05027-RAL Document 1 Filed 03/23/22 Page 16 of 19 PageID #: 43




                                 PRAYER FOR RELIEF

    73.      Plaintiff respectfully requests that this Court:

          a. Certify this matter as a class action;

          b. Award compensatory, general, and special damages as each Plaintiff is

             entitled to recover in an amount determined at trial;

          c. Award punitive damages to each Plaintiff in an amount that will punish

             the Defendants’ conduct and discourage and deter Defendants and others

             from engaging in similar discrimination in the future;

          d. Issue injunctive relief prohibiting Defendants and all persons acting in

             concert with them from engaging in further unlawful conduct;

          e. Award to Plaintiffs their costs, expenses, disbursements, and reasonable

             attorneys’ fees in this action pursuant to 42 U.S.C. § 1988;

          f. Award pre-judgment and post-judgment interest;

          g. Pursuant to 28 U.S.C. §§ 2201 and 2202, declare that the Defendants’

             conduct is unlawful; and

          h. Grant other and further relief, both general and specific, at law, or in

             equity, as the Court finds is just and proper.




                                            16
Case 5:22-cv-05027-RAL Document 1 Filed 03/23/22 Page 17 of 19 PageID #: 44




 Dated: March 23, 2022

                                    Respectfully submitted,


                                    /s/ Brendan V. Johnson
                                    Brendan V. Johnson (SD Bar # 3263)
                                    Timothy W. Billion (SD Bar # 4641)
                                    ROBINS KAPLAN LLP
                                    140 North Phillips Ave, Suite 307
                                    Sioux Falls, SD 57104
                                    Tel: 605-335-1300
                                    BJohnson@RobinsKaplan.com
                                    TBillion@RobinsKaplan.com

                                    ATTORNEYS FOR PLAINTIFFS




                                    17
JS 44 (Rev. 04/21)   Case 5:22-cv-05027-RAL Document 1 FiledSHEET
                                            CIVIL COVER      03/23/22 Page 18 of 19 PageID #: 45
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                            DEFENDANTS
          1'1&2//(&7,9(LQGLYLGXDOO\DQGRQEHKDOIRIDOORWKHUVVLPLODUO\                                5(76(/&25325$7,21GED*5$1'*$7(:$<+27(/DQGGED
          VLWXDWHGDQG6811<5('%($5LQGLYLGXDOO\DQGRQEHKDOIRIDOORWKHUV                            &+((56632576/281*($1'&$6,12&211,(8+5(DQG
          VLPLODUO\VLWXDWHG                                                                               1,&+2/$68+5(
    (b)   &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII 3HQQLQJWRQ&RXQW\                                    County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                             NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                       THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (If Known)
          Robins Kaplan LLP | 605-335-1300
          140 N Phillips Ave, Ste 307 Sioux Falls, SD 57104

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                         (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                ✖ 3   Federal Question                                                                     PTF         DEF                                        PTF      DEF
          Plaintiff                            (U.S. Government Not a Party)                       Citizen of This State            1           1     Incorporated or Principal Place         4     4
                                                                                                                                                        of Business In This State

    2   U.S. Government                  4   Diversity                                             Citizen of Another State             2         2   Incorporated and Principal Place           5         5
          Defendant                            (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                   Citizen or Subject of a              3         3   Foreign Nation                             6         6
                                                                                                     Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                       Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                  TORTS                             FORFEITURE/PENALTY                      BANKRUPTCY                      OTHER STATUTES
    110 Insurance                      PERSONAL INJURY              PERSONAL INJURY                    625 Drug Related Seizure             422 Appeal 28 USC 158            375 False Claims Act
    120 Marine                         310 Airplane                365 Personal Injury -                   of Property 21 USC 881           423 Withdrawal                   376 Qui Tam (31 USC
    130 Miller Act                     315 Airplane Product            Product Liability               690 Other                                28 USC 157                       3729(a))
    140 Negotiable Instrument               Liability              367 Health Care/                                                           INTELLECTUAL                   400 State Reapportionment
    150 Recovery of Overpayment        320 Assault, Libel &            Pharmaceutical                                                       PROPERTY RIGHTS                  410 Antitrust
        & Enforcement of Judgment           Slander                    Personal Injury                                                      820 Copyrights                   430 Banks and Banking
    151 Medicare Act                   330 Federal Employers’          Product Liability                                                    830 Patent                       450 Commerce
    152 Recovery of Defaulted               Liability              368 Asbestos Personal                                                    835 Patent - Abbreviated         460 Deportation
         Student Loans                 340 Marine                      Injury Product                                                           New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)           345 Marine Product              Liability                                                            840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment             Liability             PERSONAL PROPERTY                             LABOR                       880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits          350 Motor Vehicle           370 Other Fraud                     710 Fair Labor Standards                 Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits            355 Motor Vehicle           371 Truth in Lending                    Act                                                               485 Telephone Consumer
    190 Other Contract                     Product Liability       380 Other Personal                  720 Labor/Management                 SOCIAL SECURITY                      Protection Act
    195 Contract Product Liability     360 Other Personal              Property Damage                      Relations                       861 HIA (1395ff)                 490 Cable/Sat TV
    196 Franchise                          Injury                  385 Property Damage                 740 Railway Labor Act                862 Black Lung (923)             850 Securities/Commodities/
                                       362 Personal Injury -           Product Liability               751 Family and Medical               863 DIWC/DIWW (405(g))               Exchange
                                           Medical Malpractice                                             Leave Act                        864 SSID Title XVI               890 Other Statutory Actions
        REAL PROPERTY                    CIVIL RIGHTS             PRISONER PETITIONS                   790 Other Labor Litigation           865 RSI (405(g))                 891 Agricultural Acts
    210 Land Condemnation            ✖ 440 Other Civil Rights      Habeas Corpus:                      791 Employee Retirement                                               893 Environmental Matters
    220 Foreclosure                    441 Voting                  463 Alien Detainee                      Income Security Act              FEDERAL TAX SUITS                895 Freedom of Information
    230 Rent Lease & Ejectment         442 Employment              510 Motions to Vacate                                                    870 Taxes (U.S. Plaintiff            Act
    240 Torts to Land                  443 Housing/                    Sentence                                                                 or Defendant)                896 Arbitration
    245 Tort Product Liability             Accommodations          530 General                                                              871 IRS—Third Party              899 Administrative Procedure
    290 All Other Real Property        445 Amer. w/Disabilities -  535 Death Penalty                       IMMIGRATION                           26 USC 7609                     Act/Review or Appeal of
                                           Employment              Other:                              462 Naturalization Application                                            Agency Decision
                                       446 Amer. w/Disabilities -  540 Mandamus & Other                465 Other Immigration                                                 950 Constitutionality of
                                           Other                   550 Civil Rights                        Actions                                                               State Statutes
                                       448 Education               555 Prison Condition
                                                                   560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                        3    Remanded from              4 Reinstated or             5 Transferred from     6 Multidistrict                      8 Multidistrict
      Proceeding             State Court                              Appellate Court              Reopened                    Another District         Litigation -                       Litigation -
                                                                                                                               (specify)                Transfer                           Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         42 U.S.C. § 1981
VI. CAUSE OF ACTION                      Brief description of cause:
                                         This lawsuit arises out of discrimination by Defendants on the basis of race to members of a protected class, in violation of 42 U.S.C. § 1981.
VII. REQUESTED IN     ✖                       CHECK IF THIS IS A CLASS ACTION                          DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                 $1,000,000.00                              JURY DEMAND:                    Yes        ✖   No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                           JUDGE                                                                DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
          0DUFK                                                                                               V%UHQGDQ9-RKQVRQ
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                         APPLYING IFP                                JUDGE                            MAG. JUDGE
                   Case 5:22-cv-05027-RAL Document 1 Filed 03/23/22 Page 19 of 19 PageID #: 46
JS 44 Reverse (Rev. 04/21)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
